









Dismissed and Memorandum Opinion filed July 24, 2008









Dismissed and Memorandum Opinion filed July 24, 2008.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-08-00464-CR

____________

&nbsp;

JOSEPH JULIUS MATTE,
Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
185th District Court

Harris County,
Texas

Trial Court Cause No. 1165838

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant entered a guilty plea to the offense of possession
of cocaine, less than one gram.&nbsp; In
accordance with the terms of a plea bargain agreement with the State, the trial
court sentenced appellant on May 15, 2008, to confinement for six months in the
State Jail Division of the Texas Department of Criminal Justice.&nbsp; Appellant filed a pro se notice of
appeal.&nbsp; We dismiss the appeal.&nbsp; 








The trial court entered a certification of the defendant=s right to appeal in which the court
certified that this is a plea bargain case, and the defendant has no right of
appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp; The trial court=s certification is included in the
record on appeal.&nbsp; See Tex. R. App. P. 25.2(d).&nbsp; The record supports the trial court=s certification.&nbsp; See Dears v. State, 154 S.W.3d 610,
615 (Tex. Crim. App. 2005).

Accordingly, we dismiss the appeal.&nbsp; 

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed July 24, 2008.

Panel consists of Justices Yates,
Anderson, and Brown.

Do Not Publish C Tex. R. App. P. 47.2(b)





